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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 KRAFT FOODS GLOBAL, INC., THE
 KELLOGG COMPANY, GENERAL                         )
 MILLS, INC., and NESTLÉ USA, INC.,               )
                                                  )
        Plaintiffs,                               )        No. 1:11-cv-08808
                                                  )
                v.                                )        Judge Steven C. Seeger
                                                  )
 UNITED EGG PRODUCERS, INC.,                      )
 UNITED STATES EGG MARKETERS,                     )
 INC., CAL-MAINE FOODS, INC.,                     )
 MICHAEL FOODS INC., and ROSE ACRE                )
 FARMS, INC.,                                     )
                                                  )
        Defendants.                               )


                  PLAINTIFFS’ SUPPLEMENT TO RESPONSE TO THE
                      COURT’S DAMAGES THEORY QUESTION

       When the Court re-convenes at 3 P.M., Plaintiffs will be discussing the following cases in

addition to the cases referenced in the previous filing (Dkt. 597).

   1. NCAA v. Board of Regents of University of Oklahoma, 468 U.S. 85 (1984).

   2. Vogel v. Am Society of Appraisers, 744 F.2d 598, 604 (CA7 1984).

   3. Sanner v. Board of Trade, 62 F.3d 918 (CA7 1995).

   4. In re Broiler Chicken Antitrust Litig., 290 F. Supp. 3d 772, 800 (N.D. Ill. 2017).

 November 28, 2023                                    Respectfully submitted,
                                                      Counsel for Plaintiffs Kraft Foods Global,
                                                      Inc., General Mills, Inc., Nestlé USA, Inc. and
                                                      The Kellogg Company

                                                   /s/ Brandon D. Fox
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